261 F.2d 560
    LEATHERHIDE INDUSTRIES, INC., Debtor-Appellant,v.Sidney LIEBERMAN, Objecting Creditor-Appellee.
    No. 166.
    Docket 25398.
    United States Court of Appeals Second Circuit.
    Argued November 3 and 5, 1958.
    Decided November 20, 1958.
    
      Bernard J. Coven, New York City, for debtor-appellant.
      Alfred A. Rosenberg, Brooklyn, N. Y. (Louis P. Rosenberg, Brooklyn, N. Y., on the brief), for objecting creditor-appellee.
      Before CLARK, Chief Judge, WATERMAN, Circuit Judge, and GALSTON, District Judge.
      PER CURIAM.
    
    
      1
      The order below dismissing this debtor's petition for reorganization on the court's determination that reorganization would be futile appears to us to be based upon an insufficient record. There are no findings — and apparently no evidence — showing the debtor's financial condition or prospects. The court should make adequate findings to support its result after taking such evidence as it deems desirable. Accordingly the order below must be reversed and the action remanded to the district court.
    
    